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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/9/2020


BLOCKCHAIN TECHNOLOGIES CORP.,

                                            Plaintiff,                18-CV-9352 (AJN) (SN)

                          -against-                                            ORDER

RVH, INC., et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

         On November 9, 2020, the parties appeared before the Court for a productive settlement

conference, though the parties were not yet able to come to an agreement. Accordingly, a follow-

up telephonic Settlement Conference is scheduled for Friday, November 13, 2020, at 12:00 p.m.

At that time the parties should dial into the Court’s dedicated teleconferencing line at (877) 402-

9757, and enter Access Code 7938632, followed by the pound (#) key.

SO ORDERED.




DATED:           New York, New York
                 November 9, 2020
